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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


                                     CASE NO.

ENRIQUE ALVEAR,

      Plaintiff,

vs.

MEOWBITCHMEOW, LLC, d/b/a
KITTENISH, a foreign limited
liability company,

     Defendant.
_________________________________/

                                   COMPLAINT

      Plaintiff ENRIQUE ALVEAR, through undersigned counsel, sues Defendant

MEOWBITCHMEOW, LLC, d/b/a KITTENISH, a foreign limited liability

company, and alleges as follows:

      1.     This is an action for declaratory and injunctive relief, attorney’s fees,

costs, and litigation expenses for unlawful disability discrimination in violation of

Title III of the Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”),

as amended, and 28 C.F.R. Part 36. This is also an action for declaratory and

injunctive relief to prevent the continuing act of trespass against the Plaintiff’s

personal property (his personal computer and its hard drive), and for compensatory


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damages to Plaintiff for such trespass. Remedies provided under common law for

trespass are not exclusive and may be sought in connection with suits brought under

the ADA.

       2.    This Court has jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks

declaratory and injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.            In

addition, this Court has supplementary jurisdiction over Plaintiff’s common law tort

claim pursuant to 28 U.S.C. §1367.

      3.     Venue is proper in this Court as all actions complained of herein and

injuries and damages suffered occurred in the Middle District of Florida.

      4.     Plaintiff ENRIQUE ALVEAR is a resident of Pinellas County, Florida,

is sui juris, and is disabled as defined by the ADA and ADA Amendments Act of

2008, 42 U.S.C. §12101 (“ADAAA”).

      5.     Plaintiff is and at all relevant times has been a blind and visually

disabled person who has been diagnosed as having retinal detachment to both eyes.

Because of his condition, Plaintiff is completely blind and is substantially limited in

performing one or more major life activities, including, but not limited to, seeing,

accurately visualizing his world, and adequately traversing obstacles. As such, he is

a member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the

regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and 42


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U.S.C. §3602(h). Plaintiff further is an advocate of the rights of similarly situated

disabled persons and is a “tester” for the purposes of asserting his civil rights and

monitoring, ensuring, and determining whether places of public accommodation

and/or their respective and associated websites are in compliance with the ADA and

any other applicable disability laws, regulations, and ordinances.

      6.     Because he is blind, Plaintiff cannot use his computer without the

assistance of appropriate and available auxiliary aids, screen reader software, and

other technology and assistance. Screen reader software translates the visual internet

into an auditory equivalent. At a rapid pace, the software reads the content of a

webpage to the user. “The screen reading software uses auditory cues to allow a

visually impaired user to effectively use websites. For example, when using the

visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring

him to another webpage, through visual cues, such as a change in the color of the

text (often text is turned from black to blue). When the sighted user's cursor hovers

over the link, it changes from an arrow symbol to a hand. The screen reading

software uses auditory -- rather than visual -- cues to relay this same information.

When a sight impaired individual reaches a link that may be ‘clicked on,’ the

software reads the link to the user, and after reading the text of the link says the word

‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

visually impaired user can navigate a website by listening and responding with his


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keyboard.” Andrews v. Blick Art Materials, LLC, 286 F.Supp.3d 365, 374

(E.D.N.Y.2017).

      7.     Defendant is a foreign limited liability company authorized to do

business and doing business in the State of Florida. Defendant owns, operates,

and/or controls two retail stores selling clothing, cosmetics, and accessories,

including the store Plaintiff intended to patronize in the near future located at 800 S.

Village Circle, Tampa, Florida.

      8.     Plaintiff’s visual disability limits him in the performance of major life

activities, including sight, and he requires assistive technologies, auxiliary aids, and

services for effective communication, including communication in connection with

his use of a computer.

      9.     Plaintiff frequently accesses the internet. Because he is blind, to

effectively communicate and comprehend information available on the internet and

thereby access and comprehend websites, Plaintiff uses commercially available

screen reader software to interface with the various websites.

      10.    At all times material hereto, Defendant was and still is an organization

that owns, operates, and/or controls two retail stores under the name “Kittenish”.

Each “Kittenish” store is open to the public. As the owner, operator, and/or

controller of these stores, Defendant is defined as a place of “public accommodation"

within meaning of the ADA because Defendant is a private entity which owns and/or


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operates “a bakery, grocery store, clothing store, hardware store, shopping center, or

other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

§36.104.

      11.    Because Defendant is a store open to the public, each of Defendant’s

physical stores is a place of public accommodation subject to the requirements of

the ADA, 42 U.S.C. §12182 and §12181(7)(E), and the ADA’s implementing

regulations, 28 C.F.R. Part 36.

      12.    Defendant also owns, controls, maintains, and/or operates an adjunct

website, https://kittenish.com (the “Website”). One of the functions of the Website

is to provide the public information on the locations of Defendant’s stores.

Defendant also sells to the public its merchandise through the Website, which acts

as a critical point of sale for Defendant’s merchandise also available for purchase in,

from, and through Defendant’s physical stores. In addition, the Website allows users

to purchase gift cards for use online and in the physical stores and to sign up for an

emailer to receive exclusive offers, coupons, promotions, benefits, invitations, and

discounts for use online and in the physical stores.

      13.    The Website also services Defendant’s physical stores by providing

information on available products, services, tips and advice, editorials, sales

campaigns, events, and other information that Defendant is interested in

communicating to its customers.


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      14.    Because the Website allows the public to secure information about the

locations of Defendant’s physical stores, purchase merchandise also available for

purchase in and from the physical stores, purchase gift cards for use online and in

the physical stores, and sign up for an emailer to receive exclusive offers, coupons,

promotions, benefits, invitations, and discounts for use online and in the physical

stores, the Website has a nexus to, and is an extension of, and is a gateway to, the

goods, services, privileges, and advantages of Defendant’s physical stores, which

are places of public accommodation under the ADA. As an extension of and service,

privilege, and advantage provided by a place of public accommodation as defined

under the ADA, the Website is an extension of the services, privileges, and

advantages made available to the general public by Defendant at and through its

brick-and-mortar locations and businesses.

      15.    Because the public can view and purchase Defendant’s merchandise

through the Website that are also offered for sale in Defendant’s physical stores, thus

having the Website act as a critical point of sale for Defendant’s merchandise also

sold in the physical stores, purchase gift cards for use online and in the physical

stores, and sign up for an emailer to receive exclusive offers, coupons, promotions,

benefits, invitations, and discounts for use online and in the physical stores, the

Website is an extension of, and gateway to the physical stores, which are places of

public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the


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Website is a necessary service, privilege, and advantage of Defendant’s brick-and-

mortar stores that must comply with all requirements of the ADA, must not

discriminate against individuals with visual disabilities, and must not deny those

individuals the same full and equal access to and enjoyment of the goods, services,

privileges, and advantages afforded the non-visually disabled public both online and

in the physical stores.

      16.    At all times material hereto, Defendant was and still is an organization

owning, operating, and/or controlling the Website. Since the Website is open to the

public through the internet, by this nexus the Website is an intangible service,

privilege, and advantage of Defendant’s brick-and-mortar stores that must comply

with all requirements of the ADA, must not discriminate against individuals with

visual disabilities, and must not deny those individuals the same full and equal access

to and enjoyment of the goods, services, privileges, and advantages as afforded the

non-visually disabled public both online and in the physical stores. As such,

Defendant has subjected itself and the Website to the requirements of the ADA.

      17.    Plaintiff is and/or has been a customer who is interested in patronizing,

and intends to patronize in the near future once the Website’s access barriers are

removed or remedied (ad as early as October and/or November 2024), Defendant’s

physical store located at 800 S. Village Circle, Tampa, Florida, and to check store

hours and merchandise pricing, purchase merchandise, purchase gift cards, and sign


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up for an emailer to receive exclusive offers, coupons, promotions, benefits,

invitations, and discounts for use online and in the physical stores. In the alternative,

Plaintiff intends to monitor the Website in the near future (as early as October and

November 2024) as a tester to ascertain whether it has been updated to interact

properly with screen reader software.

      18.    The opportunity to shop and pre-shop Defendant’s merchandise,

purchase gift cards for use online and in the physical stores, and sign up for an

emailer to receive exclusive offers, coupons, promotions, benefits, invitations, and

discounts for use online and in the physical stores from his home are important and

necessary accommodations for Plaintiff because traveling outside of his home as a

visually disabled individual is often a difficult, hazardous, frightening, frustrating,

and confusing experience. Defendant has not provided its business information in

any other digital format that is accessible for use by blind and visually disabled

individuals using screen reader software.

      19.    Like many consumers, Plaintiff accesses a number of websites at a time

to help plan his store visits and to compare merchandise, prices, services, sales,

discounts, and promotions. Plaintiff may look at several dozen sites to compare

products, features, discounts, services, promotions, and prices.

      20.    Beginning in the month of July 2024, Plaintiff attempted on a number

of occasions to utilize the Website to browse through the merchandise and online


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offers to educate himself as to the merchandise, sales, services, discounts, and

promotions being offered, learn about the brick-and-mortar stores, check store hours,

and check merchandise pricing with the intent to make a purchase through the

Website or in the Tampa physical store. Plaintiff also attempted to access and utilize

the Website in his capacity as a tester to determine whether it was accessible to blind

and visually disabled persons such as himself who use screen reader software to

access and navigate company websites.

      21.    Plaintiff utilizes available screen reader software that allows

individuals who are blind and visually disabled to communicate with websites.

However, Defendant’s Website contains access barriers that prevent free and full use

by blind and visually disabled individuals using keyboards and available screen

reader software. These access barriers, one or more of which were experienced by

Plaintiff. are pervasive and, as confirmed by Plaintiff’s expert, include the following

(with reference to the Web Content Accessibility Guidelines (“WCAG”) 2.1 Level

A and AA):

      a)     Level A Guideline 1.3.2 – Meaningful Sequence. (Content is presented

in a meaningful order.) – Here, when quantity was adjusted on the cart pop-up, focus

returned to the graphic for the first item in the cart. For example, the user had two

items in his cart and when he adjusted the quantity for the second item, focus




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unexpectedly jumped back to the first product in the cart so it was not clear which

item was adjusted.

      b)     Level A Guideline 2.1.1 – Keyboard. (Website must be accessible by

keyboard only (no mouse or other pointing device)). – Here, filter options and

“view” buttons were not accessible on collection webpages. After tabbing out of the

navigation region, focus moved to a “Skip to Content” link (visible over the filter

options). Whether selected or not, tabbing continued focus to the first product

displayed on the collection page. The filter options and “view” buttons were never

given tab focus.

      c)     Level A Guideline 2.1.1 - Keyboard (2). (Website must be accessible

by keyboard only (no mouse or other pointing device)). – Here, the “Size Guide”

link on product pages opened a popup which was given tab focus. However, focus

only moved to the “close” (X) button for the popup, announced as “clickable times

button," and did not move to the clickable tabs which displayed different size charts

when selected. Tabbing from the “close” (X) button returned focus to the webpage

behind the popup. The “Size Measurements”, “How to measure”, “In”, and “CM”

elements were interactive elements which did not receive focus and were not

announced using tab key navigation as required.

      d)     Level A Guideline 2.4.1 – Bypass Blocks. (Website has a “Skip to

Content” link). – Here, when quantity was adjusted for the first item in the cart on


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the cart webpage, focus returned to the “New Arrivals” link in the navigation region,

skipping the “Skip to Content” link.

      e)     Level A Guideline 2.4.3 – Focus Order. (Website provides focus in a

logical order that preserves meaning and operability). – Here, navigation links

containing drop-down menus were not announced as collapsed links but pressing

enter on one would expand the drop-down menu. The links in the drop-down menu

were accessible with the tab key. However, tab focus looped through the expanded

list and the user was given no option to re-collapse the menu to continue to the next

navigation link if desired. The only way to close the expanded list was to select one

of its links, which then opened a new webpage.

      f)     Level A Guideline 2.4.3 - Focus Order (2). (Website provides focus in

a logical order that preserves meaning and operability.) – Here, the “Tell Me When

It's Back” button on sold out product pages opened a popup for email entry that was

not announced or given focus. Tabbing continued focus on the webpage behind the

popup.

      g)     Level A Guideline 2.4.3 - Focus Order (3). (Website provides focus in

a logical order that preserves meaning and operability). – Here, the discount

code/gift card input field on the checkout page did not receive tab focus until after

the “Pay Now” button and additional links (Refund Policy, Terms of Service, etc.),




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which usually signify the end of a page. It is unlikely that a screen reader user would

find this field.

       h)     Level A Guideline 4.1.2 – Name, Role, Value. (All interactive elements

are labeled with a descriptive name, role, and current value). Here, the plus and

minus buttons to adjust quantity on the cart popup were announced only as "button."

The quantity field was never announced, so it was unclear what the purpose of the

"buttons" were.

       i)     Level AA Guideline 1.4.5 – Images of Text. (Website doesn't use

images of text (screen readers are unable to read)). – Here, quotes presented as

images of text on the Our Story and Store Locations webpages could not be read

with the screen reader. They were announced as "clickable" with both tab and arrow

key navigation.

       22.    Plaintiff attempted to locate an “accessibility” notice, statement, or

policy on the Website that would direct him to a webpage with contact information

for disabled individuals who have questions or concerns about, or who are having

difficulties communicating with, the Website. Although the Website appeared to

have an “accessibility” statement linked from its home page and a downloadable

“accessibility” application provided by a third party vendor named AudioEye, that

“accessibility” statement and its application, when tested, still could not be

effectively accessed by, continued to be a barrier to, and did not provide a viable


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alternative means to equally access and navigate the Website for blind and visually

disabled persons, including Plaintiff. Plaintiff, thus, was unable to receive any

meaningful or prompt assistance through the “accessibility” statement and its

associated application to enable him to equally, quickly, fully, and effectively

navigate the Website.

      23.    The fact that Plaintiff could not communicate with or within the

Website left him feeling excluded, frustrated, and humiliated, and gave him a sense

of isolation and segregation, as he is unable to participate in the same shopping

experience, with the same access to the products, sales, services, discounts, and

promotions, as provided at the Website and in the physical stores as the non-visually

disabled public.

      24.    Plaintiff desires and intends, in the near future once the Website’s

access barriers are removed or remedied (and as early as October and/or November

2024), to patronize Defendant’s Tampa physical store and to use the Website, but he

is presently unable to do so as he is unable to effectively communicate with

Defendant due to his blindness and the Website’s access barriers. Alternatively, as

a tester using screen reader software, Plaintiff is unable to effectively access,

navigate, and communicate with Defendant through the Website due to his blindness

and the Website’s access barriers. Thus, Plaintiff and others who are blind and with

visual disabilities will suffer continuous and ongoing harm from Defendant’s


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intentional acts, omissions, policies, and practices as set forth herein unless properly

enjoined by this Court.

       25.      Because of the nexus between Defendant’s retail stores and the

Website, and the fact that the Website clearly provides support for and is connected

to Defendant’s retail stores for its operation and use, the Website is an intangible

service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

comply with all requirements of the ADA, must not discriminate against individuals

with disabilities, and must not deny those individuals the same full and equal access

to and enjoyment of the goods, services, privileges, and advantages as afforded the

non-visually disabled public both online and in the physical stores, which are places

of public accommodation subject to the requirements of the ADA.

       26.      On information and belief, Defendant has not initiated a Web

Accessibility Policy to ensure full and equal use of the Website by individuals with

disabilities.

       27.      On information and belief, Defendant has not instituted a Web

Accessibility Committee to ensure full and equal use of Website by individuals with

disabilities.

       28.      On information and belief, Defendant has not designated an employee

as a Web Accessibility Coordinator to ensure full and equal use of the Website by

individuals with disabilities.


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      29.    On information and belief, Defendant has not instituted a Web

Accessibility User Accessibility Testing Group to ensure full and equal use of the

Website by individuals with disabilities.

      30.    On information and belief, Defendant has not instituted a User

Accessibility Testing Group to ensure full and equal use of the Website by

individuals with disabilities.

      31.    On information and belief, Defendant has not instituted a Bug Fix

Priority Policy.

      32.    On information and belief, Defendant has not instituted an Automated

Web Accessibility Testing program.

      33.    Defendant has not created and instituted a useful and effective

Specialized Customer Assistance line or service or email contact mode for customer

assistance for the visually disabled.

      34.    Defendant has not created and instituted on the Website a useful and

effective page for individuals with disabilities, nor displayed a proper link and

information hotline, nor created a proper information portal explaining when and

how Defendant will have the Website, applications, and digital assets accessible to

the visually disabled and blind communities.

      35     The Website does not meet the Web Content Accessibility Guidelines

(“WCAG”) 2.0 Level AA or higher versions of web accessibility.


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      36.    Defendant has not disclosed to the public any intended audits, changes,

or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals who want the safety and privacy of purchasing Defendant’s merchandise

offered on the Website and in the physical stores from their homes.

      37.    Defendant thus has not provided full and equal access to, and

enjoyment of, the goods, services, facilities, privileges, advantages, and

accommodations provided by and through the Website and the physical stores in

contravention of the ADA.

      38.    Public accommodations under the ADA must ensure that their places

of public accommodation provide effective communication for all members of the

general public, including individuals with visual disabilities such as Plaintiff.

      39.    The broad mandate of the ADA is to provide an equal opportunity for

individuals with disabilities to participate in and benefit from all aspects of American

civic and economic life. That mandate extends to internet e-commerce websites

such as the Website at issue in the instant action.

      40.    Defendant is, and at all relevant times has been, aware of the barriers to

effective communication within the Website which prevent individuals with visual

disabilities from the means to comprehend information presented therein.

      41.    Defendant is, and at all relevant times has been, aware of the need to

provide full and equal access to all visitors to the Website.


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      42.     The barriers that exist on the Website result in discriminatory and

unequal treatment of individuals with visual disabilities, including Plaintiff.

      43.    Plaintiff has no plain, adequate, or complete remedy at law to redress

the wrongs alleged hereinabove, and this suit for declaratory judgment and

injunctive relief is his only means to secure adequate and complete redress from

Defendant’s unlawful and discriminatory practices in connection with the Website’s

access and operation.

      44.    Notice to Defendant is not required because of Defendant’s failure to

cure the violations.

      45.    Enforcement of Plaintiff’s rights under the ADA is right and just

pursuant to 28 U.S.C. §§2201 and 2202.

      46.    Plaintiff has retained the undersigned attorneys to represent him in this

case and has agreed to pay them a reasonable fee for their services.

                                Trespass Violations

      47.    Plaintiff utilizes his computer to access websites such as the Website.

      48.    Plaintiff uses his computer as a method of conveyance of his personal

information. Plaintiff thus stores his personal information and retains his browsing

history on his computer.




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      49.    When a user accesses the Website, Defendant automatically places

cookies and other information tracking and gathering software on the user’s personal

computer and its hard drive without the user’s advance consent or knowledge.

      50.    Although the Website does have a “Privacy Policy” linked from its

home page, Defendant does not inform the Website user that the user’s personal

information and browsing history are being collected and used for targeted

marketing and advertising. Therefore, and because of his blindness, Plaintiff was

unable to comprehend the Website and thus had no choice, and likewise no

knowledge, of Defendant’s automatic installation of cookies and other data and

information tracking and gathering software on his computer and hard drive and the

collection of his browsing history and analytics.

      51.    Thus, through the Website, Defendant has committed a trespass against

Plaintiff, since the Website places information tracking and gathering software on

the Plaintiff’s computer and its hard drive without Plaintiff’s knowledge or consent.

                    COUNT I – VIOLATION OF THE ADA

      52.    Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

      53.    Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public

accommodation under the ADA and thus is subject to the ADA.

      54.    Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the

ADA because it provides the general public with the ability to locate and learn about


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Defendant’s stores, purchase merchandise that is also available for purchase in and

from the physical stores, purchase gift cards for use online and in the physical stores,

and sign up for an emailer to receive exclusive offers, coupons, promotions, benefits,

invitations, and discounts for use online and in the physical stores. The Website thus

is an extension of, gateway to, and intangible service, privilege, and advantage of

Defendant’s physical stores. Further, the Website serves to augment Defendant’s

physical stores by providing the public information about the stores and by educating

the public as to Defendant’s available merchandise sold through the Website and in

the physical stores.

      55.    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is

unlawful discrimination to deny individuals with disabilities or a class of individuals

with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the

opportunities afforded to other individuals.

      56.    Specifically,    under    Title   III   of   the    ADA,     42    U.S.C.

§12182(b)(2)(A)(II), unlawful discrimination includes, among other things, “a

failure to make reasonable modifications in policies, practices, or procedures, when

such modifications are necessary to afford such goods, services, facilities, privileges,

advantages, or accommodations to individuals with disabilities, unless the entity can




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demonstrate that making such modifications would fundamentally alter the nature

of such goods, services, facilities, privileges, advantages or accommodations.”

      57.    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III),

unlawful discrimination includes, among other things, “a failure to take such steps,

as may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because

of the absence of auxiliary aids and services, unless the entity can demonstrate that

taking such steps would fundamentally alter the nature of the good, service, facility,

privilege, advantage, or accommodation being offered or would result in an undue

burden.”

      58.    Defendant’s Website must comply with the ADA, but it does not as

specifically alleged hereinabove and below.

      59.    Because of the inaccessibility of the Website, individuals with visual

disabilities are denied full and equal access to and enjoyment of the goods,

information, and services that Defendant has made available to the public on the

Website and in the physical store in violation of 42 U.S.C. §12101, et seq, and as

prohibited by 42 U.S.C. §12182, et seq.

      60.    The website was subsequently visited by Plaintiffs expert in September

2024 and the expert determined that many of the same access barriers that Plaintiff

had initially encountered, as well as numerous additional access barriers, existed.


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Defendant thus has made insufficient material changes or improvements to the

Website to enable its full use, and enjoyment by, and accessibility to, blind and

visually disabled persons such as Plaintiff. Defendant also has not disclosed to the

public any intended audits, changes, or lawsuits to correct the inaccessibility of the

Website to visually disabled individuals, nor has it posted on the Website a useful

and effective “accessibility” notice, statement, or policy to provide blind and

visually disabled person such as Plaintiff with a viable alternative means to equally

access and navigate the Website. Defendant thus has failed to make reasonable

modifications in its policies, practices, or procedures when such modifications are

necessary to afford goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302.

      61.    More violations may be present on other pages of the Website, which

can and will be determined and proven through the discovery process in this case.

      62.    Further, the Website does not offer or include the universal symbol for

the disabled that would permit disabled individuals to access the Website’s

accessibility information and accessibility facts.

      63.    There are readily available, well-established guidelines on the internet

for making websites accessible to the blind and visually disabled. These guidelines

have been followed by other large business entities in making their websites

accessible. Examples of such guidelines include, but are not limited to, adding alt-


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text to graphics and ensuring that all functions can be performed using a keyboard.

Incorporating such basic components to make the Website accessible would neither

fundamentally alter the nature of Defendant’s business nor would it result in an

undue burden to Defendant.

      64.    Defendant has violated the ADA -- and continues to violate the ADA -

- by denying access to the Website by individuals such as Plaintiff with visual

disabilities who require the assistance of screen reader software to comprehend and

access internet websites. These violations within the Website are ongoing.

      65.    The ADA requires that public accommodations and places of public

accommodation ensure that communication is effective.

      66.    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services

include “voice, text, and video-based telecommunications products and systems”.

Indeed, 28 C.F.R. §36.303(b)(2) specifically states that screen reader software is an

effective method of making visually delivered material available to individuals who

are blind or have low vision.

      67.    According to 28 C.F.R. §36.303(c), public accommodations must

furnish appropriate auxiliary aids and services where necessary to ensure effective

communication with individuals with disabilities: “In order to be effective, auxiliary

aids and services must be provided in accessible formats, in a timely manner, and in




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such a way as to protect the privacy and independence of the individual with a

disability,” 28 C.F.R. §36.303(c)(1)(ii).

      68.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to

effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the

basis of disability by public accommodations, and requires places of public

accommodation to be designed, constructed, and altered in compliance with the

accessibility standards established by Part 36.

      69.    As alleged hereinabove, the Website has not been designed to interface

with the widely and readily available technologies that can be used to ensure

effective communication, and thus violates the ADA.

      70.    As a direct and proximate result of Defendant’s failure to provide an

ADA compliant Website, with a nexus to its brick-and-mortar locations, Plaintiff

has suffered an injury in fact by being denied full and equal access to, enjoyment of,

and communication with Defendant’s Website and its physical stores.

      71.    Because of the inadequate development and administration of the

Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and

28 C.F.R. §36.303, to remedy the ongoing disability discrimination.

      72.    As a direct and proximate result of Defendant’s failure to provide an

ADA compliant Website, with a nexus to its brick-and-mortar stores, Plaintiff has




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suffered an injury in fact by being denied full access to, enjoyment of, and

communication with Defendant’s Website and its physical restaurant.

      73.    Because of the inadequate development and administration of the

Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and

28 C.F.R. §36.303, to remedy the ongoing disability discrimination.

      74.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff appropriate and necessary injunctive relief, including an order to:

      a) Require Defendant to adopt and implement a web accessibility policy to

make publicly available and directly link from the homepage of the Website, a

functional statement of the Defendant’s policy to ensure persons with disabilities

have full and equal access to and enjoyment of the goods, services, facilities,

privileges, advantages, and accommodations of the physical stores through the

Website.

      b) Require Defendant to take the necessary steps to make the Website readily

accessible to and usable by blind and visually disabled users, and during that time

period prior to the Website being made readily accessible, provide an alternative

method for individuals with visual disabilities to access the information available on

the Website until such time that the requisite modifications are made, and

      c) Require Defendant to provide the appropriate auxiliary aids such that

individuals with visual disabilities will be able to effectively communicate with the


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Website for purposes of viewing and locating Defendant’s physical stores and

becoming informed of and purchasing Defendant’s merchandise, and during that

time period prior to the Website being designed to permit individuals with visual

disabilities to effectively communicate, to provide an alternative method for

individuals with visual disabilities to effectively communicate for such goods and

services made available to the general public through the Website and the physical

stores.

      75.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and

expenses pursuant to the ADA. To that end, Plaintiff has been obligated to retain

the undersigned counsel for the filing and prosecution of this action and has agreed

to pay them a reasonable fee for their services.

      WHEREFORE, Plaintiff requests entry of judgment in his favor and against

Defendant for the following relief:

      A. A declaration that Defendant’s Website is in violation of the ADA;

      B. An Order requiring Defendant, by a date certain, to update the Website,

            and continue to monitor and update the Website on an ongoing basis, to

            remove barriers in order that individuals with visual disabilities can access,

            and continue to access, the Website and effectively communicate with the

            Website to the full extent required by Title III of the ADA;




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      C. An Order requiring Defendant, by a date certain, to clearly display the

         universal disabled logo within the Website, wherein the logo 1 would lead

         to a page which would state Defendant’s accessibility information, facts,

         policies, and accommodations. Such a clear display of the disabled logo is

         to ensure that individuals who are disabled are aware of the availability of

         the accessible features of the Website;

      D. An Order requiring Defendant, by a date certain, to provide ongoing

         support for web accessibility by implementing a website accessibility

         coordinator, a website application accessibility policy, and providing for

         website accessibility feedback to ensure compliance thereto;

      E. An Order directing Defendant, by a date certain, to evaluate its policies,

         practices and procedures toward persons with disabilities, for such

         reasonable time to allow Defendant to undertake and complete corrective

         procedures to its Website;

      F. An Order directing Defendant, by a date certain, to establish a policy of

         web accessibility and accessibility features for the Website to ensure

         effective communication for individuals who are visually disabled;




1
                or similar.
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      G. An Order requiring, by a date certain, that any third-party vendors who

         participate on Defendant’s Website to be fully accessible to the visually

         disabled;

      H. An Order directing Defendant, by a date certain and at least once yearly

         thereafter, to provide mandatory web accessibility training to all

         employees who write or develop programs or code for, or who publish final

         content to, the Website on how to conform all web content and services

         with ADA accessibility requirements and applicable accessibility

         guidelines;

      I. An Order directing Defendant, by a date certain and at least once every

         three months thereafter, to conduct automated accessibility tests of the

         Website to identify any instances where the Website is no longer in

         conformance with the accessibility requirements of the ADA and any

         applicable accessibility guidelines, and further directing Defendant to send

         a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for review;

      J. An Order directing Defendant, by a date certain, to make publicly available

         and directly link from the Website homepage, a statement of Defendant’s

         Accessibility Policy to ensure the persons with disabilities have full and

         equal enjoyment of the Website and shall accompany the public policy




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            statement with an accessible means of submitting accessibility questions

            and problems;

      K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses;

            and

      L. Such other and further relief as the Court deems just and equitable.

                               COUNT II – TRESPASS

      76.      Plaintiff re-alleges paragraphs 1 through 51 as if set forth fully herein.

      77.      Plaintiff’s tangible personal property, being his computer, its hard

drive, and the personal information and browsing history stored therein, has suffered

a trespass by Defendant on each and every date that the Plaintiff has accessed

Defendant’s Website, due to Defendant’s automatic employment of cookies and

other information tracking and gathering software and analytics which are present

on and through the Website.

      78.      At all relevant times, Plaintiff did not consent to and was unaware that

the Website was automatically placing the cookies and other information tracking

and gathering software on his computer and its hard drive due to his visual disability

and his inability to effectively communicate with and fully view and access the

Website.

      79.      Plaintiff did not consent to the placement of the cookies and other

information tracking and gathering software on his computer and its hard drive;


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therefore, Defendant has committed a trespass against Plaintiff by placing such

software on his computer and its hard drive without his knowledge or consent.

      80.    By the acts described hereinabove, Defendant has repeatedly and

persistently engaged in trespass of Plaintiff’s personal property in violation of

Florida common law against trespass to chattel.

      81.    Defendant’s automatic installation, operation, and execution of cookies

and other information tracking and gathering software on Plaintiff’s computer and

its hard drive have directly and proximately impaired the condition and value of the

Plaintiff’s computer and hard drive, thereby causing Plaintiff damages.

      82.    The Website has a “Privacy Policy” that discusses the automatic

gathering of information from and the automatic placement of cookies and other

information gathering software on, computers of users of the Website such as

Plaintiff. A copy of that “Privacy Policy” is attached hereto as Exhibit “A” and its

contents are incorporated herein by reference.

      83.    Defendant’s trespass to chattel, nuisance, and interference has caused

real and substantial damage to Plaintiff as follows:

      a) By consuming the resources of and/or degrading the performance of

Plaintiff’s computer (including space, memory, processing cycles, and internet

connectivity);

      b) By infringing on Plaintiff’s right to exclude others from his computer;


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      c) By infringing on Plaintiff’s right to determine, as the owner of his

computer, which programs should be installed and operated on his computer;

      d) By compromising the integrity, security, and ownership of Plaintiff’s

computer ; and

      e) By forcing Plaintiff to expend money, time, and resources in order to

remove the programs that had been installed on his computer without notice or

consent.

      84.    Defendant’s actions were taken knowingly, willfully, intentionally, and

in reckless disregard for Plaintiff’s rights under the law.

       WHEREFORE, Plaintiff demands a judgment be entered against Defendant

for all of Plaintiff’s compensatory damages, interest, costs, and such further relief as

the Court deems just and equitable.

      DATED: September 19, 2024.

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